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US. District Court
Eastern District of Michigan (Detroit)
CIVIL DOCKET FOR CASE #: 2:23-ev-11597-BRM-CI

FILED
Nelson et al CLERK’S OFFICE
v. OCT 15 2024
U.S DISTRICT COURT
Scott et al EASTERN MICHIGAN

Judge: B. McMillion

Magistrate IVY, JR

OBJECTION TO MAGISTRATES REPORT ECF No. 82

Federal Rule of Civil Procedure 72 and 28 U.S.C. § 636(b)(1) provide that such written
objections are to be filed and served within 14 days after service of a copy of the recommended
disposition. The district court then conducts a de novo review of any portion of the report and
recommendation that has been properly objected to. See id. EDMI Local Rule 72.1(d) “after

service of a copy”.
Plaintiffs file a timely objection to Magistrate’s Report ECF 82:

What constitutes a “proper objection”? As one district court in Michigan recently observed, “it is
not the job of the Court to make arguments on [a party’s] behalf” — parties cannot simply make
an “argument in the most skeletal way, leaving the court to ... put flesh on its bones.” Sands v.
Brennan, 2018 WL 4356650, at *2 (E.D. Mich. Sept. 13, 2018) (quoting McPherson v. Kelsey,
125 F.3d 989, 995-96 (6th Cir. 1997)).

Ps’=Plaintiffs rewrite entire 1* complaint-which (Ps’) allege should be operative one &
amended complaint ECF No. 29-28? AMENDED COMPLAINT same as if rewritten herein |

All the allegations in complaint must be accepted as true. Anderson v Liberty Lobby, 477 US
242, 248, which the Magistrate was correct to assert.

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The facts in this complaint deal with 2 different cars towed=Honda, Silverado towed on
7/7/21, one year and 2 months after facts in case Nelson v Service Towing Inc., Case 22-cv-
10918 in re incident of illegal search of Ps’ apartment and a citizen’s arrest 7/8/21 @ STI tow
yard which magistrate correctly found were different.

OBJECTION TO THE MAGISTRATE’s report No. 1

MAGISTRATE ERRED BY STATING PLAINTIFF THROWER= (PT) DID NOT STATE A
4TH AMENDMENT CLAIM AGAINST ROBERT SCOTT-Warren Property & Maintenance
supervisor WHEN HE DID A CITIZENS ARREST AT SERVICE TOWING INC=STI TOW
YARD 7/8/21 working in agreement with (D) STI Towing, Hertz Bros., DOE-Sullivan
employee in either ECF 29 2% Amended Complaint or ECF 55 3% Amended Complaint

Per 2™ Amended complaint ECF 29 pg 12, P “67. On 7/8/21 (P) Thrower went to tow yard to
retrieve Silverado @ 9:15 AM.

68. (D) Doe Hertz brother stalled (P) Thrower and (D) Hertz brother(s) called (D) Scott,
Property and Maintenance Supervisor per earlier agreement who rushed over to (STI).

69. 9.40 AM (D) Scott #32 (deceased) arrived at (D) STI...6006 Rinke Ave Warren MI! and
threw (P) Thrower against the wall (actually he restrained Thrower physically in the center
right of the STI garage where (D) Doe Hertz Brother or (D) Sullivan told (P) Thrower to
wait) physically restraining (P) Thrower inside STI garage (D) Scott yelling @ (P) Thrower
‘there was a warrant out for housing violations (allegedly) issued 7/7/21’”. See ECF 40,
INDEX OF EXHIBITS 26 pg 1-2 AFFIDAVIT OF ALBERT THROWER, Ex 25 pg 1-3
Affidavit of Blizabeth Nelson (two affidavits).

70. “(P) Thrower yelled at (D) Scott ‘what are you doing’? (D) Scott replied “doing a citizens
arrest’. (P) told (D) SCOTT that under Michigan law (p 13) he could (NOT) sic perform a
citizen’s arrest. (P) Thrower proceeded to call 911 to report crime of Kidnapping in process
under MI law. (D) Scott knocked (P) Thrower 313 line out of his hand and knocked (P) Thrower
glasses off, breaking them committing felony ‘assault and battery’. (P) Thrower told (D) Scott
#32 “you are assaulting me and doing battery on me’, (D) Scott (deceased-estate substituted)

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roughing (P) Thrower up and holding his hands behind his back.” (D) Scott is an x-Warren
police officer of 28 years, (obit) and apparently still thinks he was a police officer.

71. “While restraining (P) Thrower (D) Scott #32 searched (P) Thrower Aldi’s bag with
personal property ....performing illegal search and seizure under Michigan Constitution, United
States Constitution 4, 5, 14 Amendment including illegal seizure by physically restraining (P)

Thrower.”

72. “Under Michigan law (D) Scott did not have authority to do a citizen’s arrest for
misdemeanor watrant. (P) Thrower told (D) Scott he did not have legal authority to restrain (P)
Thrower, to which (D) Scott #32 responded, ‘I am doing a citizen’s arrest’. Which (P) Thrower
informed (D) Scott ‘he did not have authority to perform a citizen’s arrest under MI law per
facts.’”

73. “(P) Thrower phone was knocked out of his hand, and he was forcibly detained and injured
... by (D) Scott.”

74. “Covid was still an issue during this alleged citizen’s arrest 7/8/21 and (D) Scott was yelling
@ (P) Thrower and spit was going on (P) Thrower from (D) Scott.”

75. After about 10-15 minutes of (P) Thrower being physically restrained by (D) Scott Warren
police arrived (witnessing (D) Scott physically restraining (P) Thrower).

76. Warren police witnessed the felony in process of kidnapping (P) .. Thrower and did not arrest
(D) Scott but rather arrested (P) Thrower for alleged misdemeanor housing violations.”

Magistrate erred because it appears that since Warren police ultimately arrested (P) Thrower
that (D) Scott did not perform a “citizen’s arrest” as he claimed he did to (P) Thrower.

(D) Scott having ample to time to respond under oath does not deny this assault and citizen’s
arrest took place, nor have Warren police officer’s arrived who witnessed same, or (D) Hertz
Bros (Ds’) or employee Sullivan.

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77) “Under Michigan Code of Criminal Procedures Act 175 of 1927, 764.16 Arrest by Private

Persons... Section 16

For a felony committed in the private person’s presence

... committed felony not in private person’s presence

If the private person is summoned by a peace officer to assist the officer....(d) ...” ECH
46 pg 3, P 2, magistrate correctly states fact: “July 8, 2021, Thrower went to the tow yard
to retrieve the vehicles... (D) Hertz (or (D)=Doe employee Sullivan-who was mistaken as
one of the (Ds’) Hertz Brothers stalled Thrower while (D) Scott was on his way to the
tow yard (after being called by (D) Hertz Bros per agreement). When (D) Scott arrived,
he threw (P) Thrower against the wall and conducted a citizen’s arrest for unsafe
structure-for-habitation ticket(issued the day before 7/7/21 & not served on (P) Thrower)
(Id. At PageID,94-95) (as noted in (Ps’) brief tenant Branson had her eviction stayed
because of covid, and then evictions were tolled because of covid-later (D) Scott testified
at 8/21 eviction hearing that Branson should be allowed to stay at Hudson property for
free while (D) Scott helped her find a place-to 37" District Court’s Judge Chuma’s
dismay). While restraining ((P) Thrower), (D) Scott searched through Thrower’s bag (and
assault and battery (P) Thrower per ECF 29 pg 12-13 complaint “which must be accepted
as true” quoted supra. Thrower alleges that Scott lacked authority to conduct a citizen’s
arrest for a misdemeanor charge. Warren police then arrived but did not arrest Scott for
kidnapping; instead, they arrested (P) Thrower on the misdemeanor housing violation.”
CLAIM 4 in ECF 29 Amended complaint @ pg 16

Magistrate was correct by holding (Ps’) complaint to a lesser pro’se standard per Haines v

Kerner, 404 US 519, 520. @ pg 5 P 2.

Magistrate erred by not addressing law &/or applying law in re citizen’s arrest. Pg 22 ECF

46 PageID 547, as to probable cause for (D) Scott to do a citizen’s arrest-restrain (P)

Thrower, “assault & battery on (P) Thrower per ECF 25 Amended complaint quoted supra.
(D) Scott is not a police officer, magistrate using “The officer subjective reason for making
the arrest ...” Devenpeck v Alford, 543 US 146, 153. As stated in ECF Amended complaint
29 (D) Scott is a supervisor with Warren Property and Maintenance. (Ps’) can find no law,

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nor has magistrate cited any that an employee of Warren property and maintenance can do a
“citizen’s arrest” as (D) Scott claimed he did, and even if was not a “citizen’s arrest” as (D)
Scott claimed it was attacking (P) Thrower restraining (P) Thrower, knocking Thrower’s
glasses off, knocking his phone out of his hand, spit in (P) Thrower during covid, and
physically holding him and restraining (PT) until Warren police arrived “10-15 minutes
later”, he being a public official, city of Warren employee under Michigan law was not

allowed to do same. Using a police case as to whether a police had probable cause to arrest

... Devenpeck Id., is not on point. “Held: /. A warrantless arrest by a law officer is

reasonable under the Fourth Amendment if, given the facts known to the officer, there is
probable cause to believe that a crime has been or is being committed. The Ninth Circuit’s
additional limitation—that the offense establishing probable cause must be “closely related”
to, and based on the same conduct as, the offense the arresting officer identifies at the time of
arrest—is inconsistent with this Court’s precedent, which holds that an arresting officer's
state of mind (except for facts that he knows) is irrelevant to probable cause, see

Whren v. United States, 517 U.S. 806, 812-815. The “closely related offense” rule is also
condemned by its perverse consequences: it will not eliminate sham arrests but will cause
officers to cease providing reasons for arrest, or to cite every class of offense for which
probable cause could conceivably exist. Pp. 5-9.”

“Officer Joi Haner of the Washington State Patrol, one of the two petitioners here, ... 333 F. 3d,

at 974. .. On the basis of this information, Haner radioed his supervisor, Sergeant Gerald

Devenpeck,” Devenpeck v Alford, Id

As noted, and clearly in complaint ECF 29, (D) Scott is the supervisor or City of Warten

Property & Maintenance”, not “a police officer”, so Devenpeck v Alford, Id., is not relevant.
The city of Warren failed to train (D) Scott and “train” him that he is “(not) a law officer” as
he was for 28 yrs (Scott obit). The city of Warren is liable for it’s failure to train policy” and
ample case and newspaper articles set forth in Ps’ ECF 40 RESPONSE TO DEFENDANTS
MOTION TO DISMISS AND/OR MOTION FOR SUMMARY JUDGMENT INSTANTER
same as if rewritten herein including exhibits 1-35.

The magistrate states @ pg 22 para 2 “As Scott noted, Plaintiffs did not allege that the
citizens arrest ... was affected without probable cause...” . Scott, per ECF 29 pg 6 P”15)

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Defendant Robert Scott is supervisorof city of warren mi property and maintenance
division...”. For a city employee the law states he cannot make a “citizens arrest”. There is
no weighing if he had “probable cause” as he is not a police officer. 24 the Warren Police
officers that arrived 10-15 minutes later and observed (D) Scott “physically restraining” (PT)
had they been “properly trained” would have observed that there was a felony in the pro¢ess
of kidnapping, assault and battery and should have arrested (D) Scott instead of just arresting
(P) Thrower for outstanding misdemeanor warrant. (PT) does not allege that Warren police
could not have arrested (PT) in complaint which must be “accepted as true”. See ECF 40,
INDEX OF EXHIBITS 26 pg 1-2 AFFIDAVIT OF ALBERT THROWER

Yet, magistrate erred when applying the law to these facts and stating (P) Thrower did‘not
state a claim for relief, and that his 4, 5, 14 Amendment rights were violated by the actions
of (D) Scott acting in conspiracy with private parties (D) Hertz Brothers, STI, Able Towing
LLC to stall (P) Thrower & tip off (D) Scott.

OBJECITON TO THE MAGISTARE’S REPORT No. 2

MAGISTRATE ERRED BY STATING PLAINTIFFS’ THROWER/NELSON (P-T/N) or (Ps’)
DID NOT STATE A 4, 5, 14" US Constitution CLAIM WHEN DEFENDANTS’ TOWED (?3’)
OPERABLE VEHICLES OFF PRIVATE PROPERTY WHERE PLAINTIFFS’ WERE
RENTING

(Ds’) with (D) STI, (D) Scott, (D) Hertz Bros towed 2008 Honda Civic-driven by plaintiff
Nelson (PN) 7/7/21. 2011 Silverado driven by (PT) was towed 7/7/21 off private property in

violation of 4, 5, 14% AMENDMENT United States Constitution.

Magistrate erred by claiming (Ps’) failed to state a claim because Ps’ could not ID who towed
cars. Per ECF 29 pg 11 P “56) (D) Scott yelled ‘I want the black car towed’ that was being
driven by (P) Nelson (tenant of 7568 Hudson) and was in Michigan Ascencion hospital having
travelled there by ambulance...”. Per complaint ECF 29, ECF 40, Ex 26 para 11 Affidavit of
(P) Thrower-renter @ 7568 Hudson Ave Warren MI

“11) Warren Property & Maintenance Supervisor ROBERT SCOTT came to 7568 Hudson Ave
and was screaming ‘I want all vehicles towed’. Service Towing Inc. employee said “I can’t get

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the Honda because it behind the house parked at an angle. If I tow Honda, i will damage it.
Robert Scott-was observed through the basement window and known to affiant, screamed ‘I
don’t care, I want the Honda towed too....””

. Per the complaint and RESPONSE TO MOTION TO DISMISS Td 40 Pageld.468
AFFIDAVIT (P) Thrower saw (D) Scott-a supervisor directing towing of Silverado & Honda per
ECF 29, ECF 40. (D) STI & Hertz Brother’s towed same. The cars were towed, with a tow
truck from (D) STI Towing in a conspiracy — agreement with (D) Scott & other (Ds’) off private
property. Magistrate admits 2 cars were “operable” in violation of 37" District Court Judge
Chunra 7/7/21 order to tow “inoperable vehicles”-the same day 7/7/21 of the towing & (Ps”)
allege issued AFTER cars towed in CYA order & not served on (Ps’) in a meaningful manngr as
to give notice to (Ps’). Why were the cars towed off private property?, the (D)’s do not address
why they were “towed off private property”. Per ECF 29 AMENDED COMPLAINT same
rewritten herein & ECF 40 RESPONSE TO MOTION TO DISMISS same rewritten herein
magistrate erred by not stating (Ps’) stated a claim under 4, 5, 14 Amendment United States
Constitution. (PT) avers under oath he saw (D) Scott tow the cars “through the basement
window known to affiant”, and (Ds’) STI Towing, Hertz Brothers towed the cars. Thus
magistrate erred when it opined that complaint should be DISMISSED 1) This is what
DISCOVERY IS FOR 2) (Ps’) ID’d (D) SCOTT as the person directing that the 2 cars be
towed, the same (D) SCOTT that did “citizen’s arrest” on (PT) Objection to Magistrate’s Report
No. 1 ECF .

OBJECTION No. 3

The 37" District Court entered order same day 2 cars were towed 7/7/21 without United
States Constitutional notice Mathews v Eldridge, 424 U.S. 319 (1976), Mullane v Central
Hanover Bank & Trust Co.,

(1950) “Notice must be reasonably calculated under the circumstances to inform interested
parties of a pending action and give them an opportunity to respond. The ECF 40 RESPONSE
TO MOTION TO DISMISS Ex 1 shows 37® District Court Chmura order dated 7/7/21, same
day cars were towed, “IT IS ORDERED TODAY..”. Ps’ aver that as a matter of law an order
entered 7/7/21 and executed “today” is unconstitutional insufficient notice as a matter of law.

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Ps’ need discover to see who ordered cars towed. Ps’ stated in ECF 29 AMENDED
COMPLAINT ECF 40 RESPONSE TO MOTION TO DISMISS they heard (D) Scott ordering
the cars towed and (P) Thrower saw (D) Scott directing police and (D) STI and Hertz Brothers
towing same. See FedR.Civ.P. 26(b) “Parties may obtain discovery regarding any matter no
privileged, which is relevant to the subject matter involved in the pending action....” And that
“this rule ‘broadly to encompass any matter that bears on, or that reasonably could lead to other
matter that could bear on, any issue that is or may be in the case” Oppenheimer Fund. Inc. v
Sanders, 437 US 340, 351. The magistrate erred because opined that “plaintiffs’ are master of
their own complaint” but have not allowed to case to proceed to discovery to identify who called
the (D) STI, (D) Hertz Brothers’ tow company and serve ADMISSIONS.

OBJECTION TO THE MAGISTRATE’S REPORT No. 4

Renters whose eviction was tolled because of covid did not have authority or apparent
authority to give defendant city employees ID’s in ECF 29 access to basement apartment of
plaintiffs as magistrate correctly found.

At ECF 46 pg 2 ft 1, the magistrate erred by changing the date the Ps’ found out about the illegal
search. “Plaintiffs learned of Defendants’ search of the residence on April 23, 2020, ft 1 (Id. At
PageID.91) Ft 1 Plaintiff's wrote “4/23”. Ps’ aver it was “4/23” when they found about the
illegal search of their apartment. See ECF 29 pg 9 P “45) “(Ps’) Thrower, Nelson did not become
aware that (Ds’) Scott, Cummins, ... had entered basement apartment until 4/23”. Although
there was an earlier date alleged 8/21 in complaint where Ps’ could have found out about the
illegal entry, they did not and actually found out about illegal search 4/23 as complaint states,
thus the magistrate erred by changing the date of (Ps’) complaint when (Ps’) stated they found
out about the illegal entry into their basement apartment from “4/23” to “April 23, 2020” and the
statute of limitations has to be reapplied under this discovery context, (Ps’) averring magistrate
erred per (Ps?) BCF 40 RESPONSE TO MOTION TO DISMISS in re statute of limitations same
as if rewritten herein. Ps’ also state magistrate erred that the repeated ENTRY onto (Ps’) rented
premises was an ongoing pattern of illegally entering Ps’ rented premises that extended statute of
limitations as set forth in ECF 40.

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OBJECTION TO MAGISTRATE’S REPORT No. 5

A NOTICE OF APPEAL WAS FILED ECF 80 9/6/24 DIVESTING TRIAL COURT OF
JURISDICTION. PER A REVIEW OF THE RECORD AFTER THE JUDGE RULED IN THE
CASE ADOPTING THE MAGISTRATE’S REPORT ECF 78 THIS EFFECTIVELY ENDED
THE CASE AS THERE WAS NOTHING LEFT TO DO IN THE TRIAL COURT.

“Effect of Taking Appeal

The mere filing of an appeal does not vacate or nullify the judgment appealed ,
from. Courts have consistently held that the mere filing of an appeal from a decree
dismissing a complaint seeking an injunction, in the absence of a stay of
proceedings, will not disturb the operative effect of such a decree. Also, “where
the act sought to be restrained has been performed, the appellate courts will deny
review on the ground of mootness.” [i] Thus, the filing of a petition to review an
order of a bankruptcy judge does not stay the effect or operation of the order unless
a supersedeas bond is filed or the order itself provides for a stay [ii] However, if
the appeal is for de novo review, it may operate to vacate or nullify the judgment

appealed from.

An appeal is perfected upon the filing of a written notice of appeal and once a case
has been appealed, the trial court loses jurisdiction except to take action in support

of the appeal.

The effect of the appeal is that it transfers the jurisdiction of an issue from the
lower court to an appellate court. The trial court will no longer have jurisdiction or
authority to vacate, amend, modify or reconsider its judgment. However, a trial
court’s jurisdiction is not removed simply by the fact that a notice of appeal has
been filed. A trial court is not divested of jurisdiction to issue further orders in the
case relative to the order or judgment appealed from if such further orders are

specifically authorized by statute or rule. [iii]

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The lower court may retain jurisdiction to determine matters collateral or incidental
to the judgment and not inconsistent with the appellate court’s jurisdiction. For
instance, an appeal may not affect the lower court’s ministerial functions and the
court may exercise the ministerial function of entering final judgment where a
partial summary judgment and order of dismissal have left no unresolved
claims.[iv] A notice of appeal does not oust a trial court of its jurisdiction to
consider a timely-filed post-judgment motion, irrespective of the sequence in

which the notice of appeal and a post-trial motion are filed.[v]

Similarly, interlocutory appeals from rulings in the lower court do not divest the
lower court of jurisdiction over the case. In some situations, the lower court is
permitted to act in aid of the appeal.”

[i] Brill vy. General Ind. Enterprises, 234 F.2d 465, 469 (3d Cir. 1956) [ti] Jn re
Combined Metals Reduction Co., 557 F.2d 179 (9th Cir. Nev. 1977)

[iii] Odd Fellows Building & Investment Co. v. City of Englewood, 667 P.2d 1358
(Colo. 1983) [iv] Lewis v. United States, 992 F.2d 767, 772 (8th Cir. 1993)

[v] Ex parte Andrews, 520 So. 2d 507 (Ala. 1987) [vi] McGurn v. Scott, 596 So. 2d
1042 (Fla. 1992)

It is well-settled law that a NOTICE OF APPEAL ECF 80 divest the trial court
of jurisdiction to proceed further in the case. Wherefore, trial court erred by
issuing ECF 82 9/30/24 after the case had been effectively terminated by virtue of
ECF 78, order adopting magistrate’s ECF 46, appealed per ECF 80.

OBJECTION No. 6

(Ps’) OBJECT TO MAGISTRATE’S REPORT BECAUSE 1) DID NOT
ADDRESS THE “CITIZEN’S ARREST “AGAINST (D) WARREN, MI
PROPERTY AND MAINTENANCE EMPLOYEE ROBERT SCOTT, IN
TERMS OF THE 4, 14% AMENDMENT T US CONSTITUTIONAL
VIOLATION 2) DID NOT ADDRESS (D) SCOTT, (D) PROPERTY &
MAINTENANCE EMPLOYEE TOWING “OPERABLE VEHICLES” OFF

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PRIVATE PROPERTY WITHOUT PROBABLE CAUSE IN TERMS OF 4, 5,
14" AMENDMENT US CONSTITUTION

OBJECTION No. 7

OBJECTION TO MAGISTRATE REPORT SINCE ERRED BY NOT OPINING
THAT ECF 29 IS THE OPERATIVE COMPLAINT, SAME AS IF REWRITTEN
HEREIN AS ECF 55 3° AMENDED COMPLAINT WAS FILED OVER
OBJECTION

If a complaint sets forth facts that must be accepted as true, ECF 29, 2™
Amended Complaint same as if rewritten herein, the magistrate erred by not
proceeding on that complaint.

OBJECTION No. 8

OBJECTION TO MAGISTRATE REPORT BECAUSE (Ps’) SET FORTH
FACTS IN COMPLAINT ECF #29, ECF

OBJECTION TO THE MAGISTRATE’S REPORT No. 9

Magistrate erred by not stating that (D) private parties, (D) Hertz Bros., STI
Towing Sullivan acted in conspiracy with “state officials”, (D) property &
maintenance supervisor Scott, in A) towing 2 cars, 7/7/21, and B) scheming the
“citizen’s arrest” of (P) Thrower @ STI Service Inc with et al., (Ds’), per facts in

ECF 29, 55 same as if rewritten herein.

See ECF 67 Ex’s 1-49 same as if attached hereto in support of objection to
magistrate’s report.

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included “curtilage has long been black letter law”. "{W]hen it comes ,, Fourth
Amendment, the home is first among equals." Florida v. Jardines, 569 U.S. 1,

6, “At the Amendment's right of a man to retreat into his own home and there be
free from unreasonable governmental intrusion.’ " Ibid... full practical effect to that
right, the Court considers curtilage—"the area ‘immediately surrounding and
associated with the home’ "—to be " ‘part of home itself for 4th Amendment
purposes.” * Sardines, 369 US, 2, 133 SCL1409, Oliver » United States, ase

physically and psychologically, where privacy expectations are most
heightened." California v. Ciraolo, 476 U.S. 207, 212-213, When a law
enforcement officer physically intrudes on the curtilage to gather evidence, a
search within the meaning of 4th Amendment has occurred. Jardines, 569 US... at
LI, .. conduct is presumptively unreasonable absent a warrant.”

Per NILI et al v City of Warren et al Case No. 15-cv-13392 consent decree para
12 (D) city of Warren agree to obtain administrative warrant if denied entry,...”
See ECF 40 Ex 12

13.ECF 55 Complaint facts: (D) Robest Scott is supervisor of (D) City of
Watren Property & Maintenance Dept Warren MI- deceased-city is
representing (D) Scott and is still liable working for (D) city of Warren
in his individual capacity.

14. All of the private parties (Ds”) Hertz Brothers, (D) Sullivan acted
“under of color of state law”, acting “in concert”, “conspiracy” with state
actors per facts alleged “to be engaged in jomt action, a private party
must be a “willful participant” with the state or its agents in an activity
which deprives others of constitutional rights. Dennis, 449 U.S.at 27. A
private party is liable under this theory, .. its particular actions are
“inextricably intertwined” with those of the government. Brimetic, 294
F.3dat 1211. Substantial cooperation between the private party and the
state must be shown. Mathis. Pac. Gas & Elec.Co.,15 F.3d 498, 503

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(9thCir. 1996). An agreement between government and a private party
for seme governmental-type action can create state action” Substantial
coordination and integration between the private party and the
government are the essence of a symbiotic relationship. Id. A significant
financial integration may form the nexus of a symbiotic relationship.
Rendell-Baker, 457 U.S. at 842-43. A symbiotic relationship may also
arise from of the government’s exercise of control over the private
party’s actions. “Brunette, 294 F 3d at 1213. (D) STI and Hertz Bros.,
Sandra Hertz, Randy Sullivan fit this definition for liability of private
parties acting in concert with (D) Scott.

15. @D) City of Warren MI is a local government entity which (D) Scatt
and(D) police Does work for. It ts being sued for “failure to train” it’s

employee’s.

When a law enforcement officer physically intrudes on the curtilage to gather
evidence, a search within the meaning of the Fourth Amendment has
occurred. Jardines, 569 U. S., at 11. Such conduct thus is presumptively
unreasonable absent a warrant.”
16. On 7/7/21 (D) Scott leamed (P) Thrower arrived to mow grass at
7568 Hudson Ave Warren MIL
17. (D) SCOTT learning (PT) arrived called (Ds’) STI, Hertz Brothers,
Randy Sullivan to meet (D) SCOTT and tow vehicles from 7568 Hudson
Ave
18. (PT}= plaintiff Thrower was in his apartment @ 7568 Hudson Ave —
(DUPLEX) and saw and heard (D) STI tow company, (D) Hertz
Brothers, and/or employees (D) Sullivan towing his 2011 Silverado &
Hoada directed by (D) Scott.
19. (PT) saw (D) SCOTT throw (PT) mower in the back of the (PT)
Silverado upside down ruining same.
20.(PT) was in 7568 Hudson Ave and heard (D) SCOTT scream at (Ds)
ST! Towing, Hertz Brothers and or employee (D) Sullivan “I want the
Hoada towed”.
21. 2008 Honda Civic was perked on concrete drive behind 7568
Hudson Ave.
22. (PT) heard (D) Hertz Brother or employee (D) Sullivan say “I can’t
tow Honda without damaging it because it’s at an angie”. (D) SCOTT
responded, “I don't care I want it towed anyhow”
((?s’) have listed Joseph Bayura Jr as a witness to testify to paint
and! bumper tom 2 places underneath 2008 Honda and needs

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23. (D) Scott later caused 37* District Court Judge Chumra to issue a
CYA court order after towing cares and issue misdemeanor warrant for
(PT) anrest dated 7/7/21. Judge Clumra order delineated to tow
vehicles” Order Ex 1, ECF 40 Ex 1
24. 7/7/21 court order is void as a matter of lew since:
a. § Issued without notice or an “opportunity to be heard” or
probable cause (issued 7/7/21-same day cars towed)
b. Cars towed were “operable” so assuming arguendo court
was valid, it was limited to “inoperable” vehicles and (Ps) 2 vehi
were “operable”
c, Order was not a “scerch warrant” to enter private property
d. Cars were licensed, insured, and no ticket for “blight” or other
e@ § 2008 Honda was driven by renter (PN)=plaintiff Nelson who
had taken an ambulance to Ascension Hospital days before and was in
the hospital when her Honda was towed
f, | Order as a matter of law did not allow (D) SCOTT to enter
private property without a search warrant as a matter of law per
Collins v Virginia, supra.
25. (PT) saw (D) SCOTT take (PT) “personal property” grill, gutter
atta¢hed to house, wood from 7568 Hadeon Ave address
26. (D) SCOTT billed (PT) $687-S0 for illegally taking propesty 7/7/21
im his alleged capacity as supervisor of property and maintenance
27. On 7/8/21 (PT) went to (D) STI 6006 Rinke Ave Warren MI to
retrieve Silverado at about 8.30 AM.
28. (D) Hertz Brother &/or employee (D) Sullivan stalled (PT) per
earlier agreement with (D) Scott-for approximately 30 minutes
pretending like (D) could not find (PT) Silverado.
29. (PT) was told to wait in STI garage and (D) Scott arrived and
attacked (PT) running up on him in (D) STI garage and physically
restaining (PT) while (Ds’) Hertz Bros &/or Sullivan watched
' 30.. (PT) yelled “what are you doing”? (D) SCOTT said “I am doing a
citizens arrest, there is warrant out for you for housing violations.”
31. (PT) told (D) Scott that under MI law he could not perform a
32. (PT) called 911 to report kidnapping in process and assault and |
battery, with (D) SCOTT knocking phone out of (PT) Thrower’s hand
injuting same after 911 operator answered
33. (D) Scott searched (PT) Aldi’s bag

wv

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34. On 7/21/21 (PT) filed a police report for (D) Scott “assault and

battery”, “kidnapping” Incident #21-33784

35.(PN) after exiting Ascension Hospital had to retrieve her “operable”

Hoada from (D) STI towing paying $330 tow fee. Rear bumper damaged.

Paint $880

36. (PT) paid $330 to retrieve Silverado from (D) STI at a later date
CLAIM NUMBER ONE

Per facts same rewritten herein (D) Scott in tandem, conspiracy, agreement
with (Ds’) STI, Hertz Brothers, employee (D) Randy Sullivan violated the |
(Ps’) 4, 5, 14% Amendment rights United States Constitution when they entered
on to the 7568 Hndson Ave property, curtilage, 7/7/21 withous searce were
and towed 2 operable vehicles belonging to (PT) and (PN) tenants. (D)
confiscated personal property of (PT) Thrower in the process
CLAIM NUMBER TWO
Per facts same rewritten herein the (D) SCOTT violsted the (PT) Usted

Constitutional rights to be free from unconstitutional seizure in violation of
4, 5, 14% Amendment when (D) Scott preformed a “citizen’s arrest” when as 2
matter of law (D) Scott was not legally allowed to. (D) Scott acted in
agreement, tandem, conspiracy, actions “inextricably intertwined”, with (D)
Hertz Brothers, (D) Sandra Hertz, (D) Randy Sullivan to detain, stall (PT) at
(D) STI, call (D) Scott who rushed over and do “citizen’s arrest”, “assault and
battery”, kidnapped, search (PT) at (D) STI garage while (D) Hertz Brother(s)
&/ox (D) Sullivan watched per agreement”

The (Ds’) city Warren, Scott, aver that a warrant was issued for housing
violations to (P) Thrower.

1) The 7568 Hudson Ave Warren MI is owned by St Anthony the Great
Romanian Orthodox Monastery, a MI registered corporation, not (P)
Thrower. ECF 40 Ex

2) Assuming arguendo 7/7/21 warrant was legitimately obtained it is a
misdemeanor warrant and cannot be used to tow cars and seize personal:
property at a residence or even enter a residence to perfect an arrest. New
York vy Payton, 445U.S. 573, 100 S. Ct. 1371; for the law that a seerch
warrant must be issued to enter property for a felony arrest.

3) () city, Scott cite a 6* Cir case US v Coleman, 923 F3d 450 (6* Cir), for

the psoposition that this Court is wrong stating that (Ps’) state a 4, 14°

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Amendshent claim for illegal entry onto the Ps’ leased residential property
without a search warrant towing 2 cars and taking personal property.

Per Ex’s 36, pg 1-10 show that 7568 Hudson Ave was completely fenced in.
7568 Hudson Ave Warren= duplex, not a condominium complex delineated in
Coleman, ki. The only other tenant was city’s witness Branson who had her
eviction “stayed” because of covid. (Ds’) do not get an affidavit from renter
Branson to aver that she allowed (Ds’) in. Per facts, the 2008 Honda was
parked behind building on concrete at an angle. The government in Coleman
had a court order to place a tracking device on Coleman in Coleman, Id. 450-1.
Coleman is inapplicable because Coleman was the subject of a narcotics
investigation. In Coleman, 451, “Coleman moved to suppress the fruits of the
... Vehicle tracking and residential search warrants,..” In case sub judice, there
was no search warrant. Id 451, “Coleman’s driveway was not within the
curtilage of his home..”, contrary to Ex 1 pg 1-9 shows 7568 Hudson right next
to home. Per Ex 38-39 Affidavits’ (P) Thrower, (P) Nelson aver anyone seen
past driveway entrance would be deemed “trespassing” as it enters yard
enclosed by fence on 4 sides and driveway. Per Ex 37 Affidavit & Ex 38 pic.,
there was @ “no trespassing sign” on fence like the one in Ex 32 pic-although
faded. In Coleman, there was no “no trespassing” sign just a “private property”
sign on enfrance to condo complex. Further ECF 40 Ex 28, 32 pg 2 show Ps”
gate @ 7568 Hudson Ave closed after vehicles entered or left.

Assuming arguendo what Ds’ say is true re Coleman, case is not on point
because fiicts Ds’ seized Ps’ 2 vehicles and personal property and in residential
“curtilage” area which constitutes 4, 5, 14* Amendment violation alleged
without a search warrant. The seizing of the 2 cars is the 4, 5, 14" , and a
separate cause 4, 5, 14% Amendments for entering property without search

&

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warramt US Constitutional violation without Due Process of law. Ps’ do not
read Coleman to allow same and Ds’ do not cite Coleman that allows the
conduct alleged in the facts of complaint. STI (Service Towing Inc-Able
Towing LLC) Hertz Bros., Sandra Hertz & Randy Sullivan acted in “concert”,
“tandem”, “Conspiracy” to tow the Ps’ vehicles. “Nugent v Spectrum Juv
Servs, 72 Fiatth 135, 139-140 6CA ‘..test employed to determine when a
private entity may qualify as a state actor, including entwined test..private entity
is entwined in private entity’s management or control’ Brentwood Acad v Teun
Secondary Scholl Athletic Ass'n, 121 SC1 924. In this case ... facts in complaint
that appellant STI, Hertz Bros were called to tow cars off private property by
‘state actots’. See ECF 105 Ex 5,6,7,9 ADMISSION. ...STL, HERTZ BROS |
tow company claim they have a contract with (D) city of Warren that mandates
they comply with city of Warren employees requests. ... Shows ‘as to the
clements af these three theories... nexus test, state compulsion test, and
conspiracy framework are all sufficient bases on which to find private company
defendants liable under Sec 1983” Memphis Tenn Local .. v City of Memphis,
361 F3d 898, 905

Pes exhibits infra are referenced ECF 40 & annexed hereto. (Ds’) STI,
Hertz Bros appear confused and argue that since police are not involved in the
illegal tow scheme, then they are not liable. (D) Scott, et al., are “state actors” for
42 USC Sec 1983 purposes. (D) Warren city workers (D) Scott is a “state actor” ,
like tow companies, city in Robertson v Breakthrough et al, argues state law has
exclusive “subject matter jurisdiction”, “Mich Comp L Sec 257.252e(1), ..reliesion
Gilbert-Rutsor v Parkview Towers..WL 2016 3913713 at 2 (ED MI)... however

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Gilbert-Rutter.. concemed a single pleintiff challenging the one-time tow of

from Parkview stetes that a vehicle can be towed for expired plates. Piaintiff alan
but did not pay required fee. Per MCL §257.252a(2\a), am abandoned vehicle is
defined as, ixtter alia, “[2] vehicle that has remained on private property without
consent of owner.” (P) lease, Parkview could remove cars parked on their property
that had expixed registration plates. Parkview had a contract with Goch & Sons
Towing..”. Hence owner of property, Parkview Towers called tow company -.
expired plates, after giving 48 hours notice pursuant to renter Gilbert-Rutter’s per
written lease, within the direct language Mich Comp L Sec 257.2523(1) Ex 16'MI
Abandoned Vehicle Code.” .. magistrate opinion was not appealed by plaintififin
Gilbert-Rutter v Parkview Towers et al.. Case sub judice, is differentiated because
2 cars were towed, b) 2 cars were “operable”, c) state actors or STI tow company

under Mi Abandoned vehicle code was not allowed on private property to tow'cars

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&) cars had cutrent plates, insured to same address as (PN) owner's driver's Hcemme
c) Came on pate property without warrant behind a privacy Snes g) “other
acts”. 37-cv-10918 Nelson et al., v Service Towing Inc. et al., where same (Ds’)
sewed 4 other cars, (D) SCOTT & other city employees entering (Ps’) residence
cyithout search or administrative warrant as found by this Court but dismissed of
“statute of limitations” grounds ECF ~even though “dismissed” on statute of
lidtations grwunds can still be considered es “other acts” for (D) city ability.
Under the confining violation doctrine, certain plaintiffs can overcome a statute of limitations
deScase by arguing that the allegedly unconntitetional acts were parts of a contiouing violatin
amounting to a single wrong occurring within the limitations period.” See Ussited Air Lines, fnc.
x» Evans, 431 US. 553 (1977), Nat LER. Passenger Corp. ¥. Morgan, 536 US. 101 (2002),

ic, 127 S. Ct. 2162 (2007) (Ds”) Hextz Broa,

Sandea Hertz & employee Sullivan worked with (D) Scott to “set up” (PT) ~

citizens arrests (P) Thrower Ex 24 Warren 7/16/21 police report. “scheme...
laws, treaties of United States.’ 28 USCA Sec 1331. Court has jurisdiction.
Carmen Auto Sales II Inc. v City of Detroit, 2018 WL 1326295, @ 3-4”,
“explaining: ‘Congress—not state a state legislature—controls federal court
jurisdiction..nothing in Sec 257.252e(1). limits a federal court’s jurisdiction t6
hear federal claims...” Robertson et al v Breakthrough et al., pg. 11. Indeed, per
facts complaint, Michigan Vehicle Code Sec 257.252e(1), does not even apply to

1

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the facts accepted as true, since only property owner or police can authorize tows
off private property, which “state actor”, working under Supervisor of Property 4
Maintenance. Hence, “Breakthrough’s authority to tow vehicles derives from
Michigan Vetiicle Code, which allows for towing of an ‘abandoned vehicle’—that
is ‘a vehicle that has remained on private property without consent of the owner’
Mich Code L, Sec 257.252a(2)(a). A towing agency may take custody of an
abandoned vehicle through one of two ways: (i) ... direction of a police agency, spe
Sec 257.252(8)\(4), or (ii) at the request of the owner of the private property where
the abandoned vehicle is located, see Sec 257.252a(10).” Hence tow company .
(Ds’)}-appeliees STI, Hertz Bros cannot rely on a state code to violate (Ps) US
Constitutional rights that does not even apply per the facts accepted as true.

Police have not been identified or served. “For (Ps’) to state a claim for civil
conspiracy, ‘all that must be shown is that there is a single plan,... alleged
coconspiratot shared in the general conspiratorial objective, and that an overt act
was committed in furtherance of the conspiracy that caused injury to the
complainant”, Memphis, 361 F3d 905. The “conspiracy” was to tow 2 licensed, ,
insured cars ftom ( P-Nelson) home and (P- Thrower) & take personal property. It
is well settled law that private pertics can “conspired with state actors. (Ds’) STI,
AT LLC employees Hertz Bros., Sandra Hertz, Edward Hertz, Randy Sullivan
acted “in concert”, “conspiracy” with state (Ds’), engage in condact under “color

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of State law,” .. subject to liability under section 1983 where they “act jointly” os

conspire with state government officials. See, e.g, Brentwood Acad. v. Tenn.
Secondary Sch. Ath. Ass'n, 531 U.S. 288, 296 (2001); Tower v. Glover, 467 U.S.
914, 919 (1984), Dennis v. Sparks, 449 U.S. 24, 27 (1980); of. United States v.
Price, 383 U.S. 787, 794 (1966) (holding that, for purposes of finding liability.
criminal law analogue of section 1983, 18 U.S.C. § 242, private individuals acting
jointly with state officers engage in conduct “under color” of state law). All private
appellees ABLE TOWING LLC, SERVICE TOWING INC., owners DENNIS
HERTZ. BRUCE HERTZ, SANDRA HERTZ and their employee=Randy Sullivan
via agency law “act jointly” and / or “conspire with state government officials” i.e.
appellee (D) City of Warren Property & Maintenance Supervisor Scott et al.,
Brentwood Acad. V Tenn. Secondary Sch. Ath. Ass'n, supra with City of Warren MI
Property & Maintenance division, (d) Robert Scott, Does, (Ds”) all acting in their
“individual capacities” at all times per facts of this complaint and conspired with
private towing company STI, AT LLC and Hertz Bros., Sullivan, employees.
Appellees’ (Ds’) STI, AKA AT LLC, Hertz Bros, & Sandra Hertz, claim they were
“just fulfilling a contract”, with (D) city of Warren, yet the existence of a
“contract”, “with state and private actors, so that the action may be attributed to
the state’, ‘to take a particular action so .. really that of the state” Robertson et al v
Breakthrough ct ai @ 12. See Memphis Tenn Area Loc Am Postal Workers Union

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AFL-CIO v Memphis, 361 F3d 898, 905, “nexus test, state compulsion test, and _
conspiracy framework are all sufficient bases on which to find the private company
liable under Sec 1983..clements of these three theories: * ‘The state compulsion
test requires proof that the state significantly encouraged or .. coerced either
overtly or covertly, to take a particular action so that the choice is really that of the
state.’ Moldowan, 578 F3d at 399. The “particular action” i.e. illegally tow cars,
appellees (Ds*) STI, Hertz Bros., Edward & Sandra Hestz, employee Sullivan is
mandated by their “contract”, “so thet choice is really that of.. state’ Moldowan,
Id.” “.. nexus'test requires a sufficient close relationship (Le. through state
regulation or contract) between ..state and..private actor 30... action may be
attributed to the state.”” Robertson et al v Breakthough Towing et al., a 12, ic.,
“contract” appellees (Ds’) STI, Hertz Bros claim for immunity, in the law shows
liability, “costiract) between the state and private actor .. action may be attributed to
the state.” Robertson et al v Breakthrough Towing et al., 1d. * 1983 civil
conspiracy o¢curs where ‘private party has conspired with state officials to violate
constitutional rights, and (3) an overt act was committed.’ Revis v Meldrm, 489:
F3d 273, 290 CAG”, Robertson et all v Breakthrough Towing et al., supra @ p12.
The fact that 2 cars were illegally towed is “1983 civil conspiracy occurs... violate
constitutional rights..and (3) an overt act was committed.”” Overt Act: = (D)
“state actor”: Warren Property Maintenance Supervisor Scott (Ds) STI, Hertz Bros

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state they have a “contract”, hence their “contract” with (D) city of Warren requires
(Ds’)-STI, Hertz Bros, Sandra Hestz to violate (Ps”) US Constitutional rights, enter
private property-tow cars in violation of 4,5,14* Amendments US Constitution, “so
that. choice is really that of ..state”” Moldowan, Id. and “contract” claimed by
(Ds’) STI, Hestz Bros. to make them not liable is in fact “nexus test requires a
sufficient close relationship (i.e. through state regulation or contract) between the
stste and the private actor so that the action may be attributed to the state.””
Robertson et al., v Breakthrough Towing et al., supra. (D) scott as observed by (p)
thrower directed towing (ps’) 2 cars, took personal property “without notice and an
opportunity ta be heard st a meaningful time” Fuentes v Shevin, 92 SCt 1983

Due Process: The due process cl 14th Amendment ensures no party will be
deprived of property without notice and an opportunity to be heard at a meaningful
time and in a meaningful manner. Fuentes v. Shevin, 92 S. Ct. 1983, .. Fourteenth
Amendment protection of property has been broadly extended to “any significant
property interest.” Boddie v. Connecticut, 401 U.S. 37), 379, It is undisputed .
Uninterrupted use of one's vehicle is a substential property interest, and that before
"local govemment may s0 interrupt its use, owner is entitled to due process." Bell
v. Burson, 402 US. 535,539. Per ECF 40 Ex 1, also annexed hereto is Judge 37*
District Court issuing order 7/7/21, same day cars were towed. Cars were towed

9:00 AM. 1) order was not and could not be served on (Ps’) same day, (PN) was in
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Ascension Hospital. 2) Order states “inoperable vehicles”. (Ps”) 2 cars were
“operable” per facts and driven away from (D) STI towing facility ECF 40 Ex 21

& annexed hereto as Ex 21 @ Speedway “gas station after removal from (D) STI
tow yard-shows ‘operable’. (Ps”) were “deprived of property without notice anil
an opportunity to be heard at a meaningful time and in a meaningful manner”.
Fuentes v Shevin, id. “state actors”. Several of the “overt acts” are: 1) coming dn
the private property to tow 2 cars and take the personal property, 2) Telephone call
from City of Warren Property & Maintenance Doe, Scott to STI, Hertz Bros
Towing. MI Code L Sec 257.252a(2\(a) statute Warren Property and Maintensace
Supervisor, () SCOTT, Doe- has “no authority” to tow vehicles off “private
property” in violation of well settled “black lettes” law 2018 Collins v Virginia, ‘as .
“property and maintenance” employees for (D) City of Warren. .. police officers,
“Sec 257.2520(2\(a). A towing agency may take custody of an abandoned vehicle
through one of two ways: (i) at the direction of a police agency, see Sec
257.252(a\(4),.”. (Ds”) STI, Hertz Bros entered into a conspiracy, meeting of the
minds, with “state actors” (D) Scott, Doe evidenced by (D) STI admitted “mystery
contract” to violate (Ps”) US Constitutional rights acting in their “individual
capacities”. “.. that the nexus test requires a sufficient close relationship (i.e.
through state regulation or contract) between the state and the private actor so that
the action may be attributed to the state.” Robertson et al v Breakthough Towing et

wW

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al., at 12”, P-Thrower saw (D) Scott ordering towing of 2 cars and loading (PT)

(Ds’) STI, Hertz Brothers cite a “contract” with city of Warren tow cars when
called by Warren City employees. (Ds’) STI, Hertz Brother’s have not produced
this contract, dnd (Ps’) aver that it should not be allowed as a defense, said
“mystery contract”. Further, said contract would be illegal if interpreted to enter
private property at the request of (D) city of Warren Property & Maintenance
employees, supervisor appellee (D) Scott to tow licensed, plated, insured vehicles
registered to same address. “Private parties may also be liable under Sec 1983 if
they ‘willfully participated in joint actions with state agents’ by joining a civil
conspiracy with state officials Memphis Tenn Area Loc., Am Postal Workers
Union, AFL CIO v City of Memphis, 361 F3d 898, 905 CA 6. “knowingly allowed
the seizure ...in reckless disregard of statute requirements’ ...violated (Ps) clearly
established Fourth Amendment rights to be free from unreasonable seizures’
Livingston, 151 F_App’x at 476._for plaintiffs to state 8 claim for civil conspiracy
‘all that must be shown is that there was a single plan”, appellees STI, Hertz Bros,
to break the law, violate United States Constitutional rights, yet fails to produce
same ,“ .. nekes test requires a sufficient close relationship (.c. through state
regulation or contract) between...state and.. private actor 30 ..action may be

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attributed to the state.”” Robertson et al v Breakthough Towing et al., at 12”, & at
Robertson et al., v Breakthrough Towing LLC et al.,@ p 6 para 2, Mich Comp. L.
Sec 257.252a(11).” Owner of property owner, a circumstance not authorized by
Mich. Code L Sec. 257.2528”, “Before removing the vehicle from private
property, the inwing agency shall provide notice by telephone, or otherwise, to a
police agency having jurisdiction over the “mystery contract” not produced in
discovery cannot be relied upon to break the law, violate the constitution and
comtract shows “may be subject to liability under section 1983 where they “act
jointly” or cosspire with state government officials. See, e.g, Brentwood Acad. v.
Tenn. Secondary Sch. Ath. Ass'n, 531 U.S. 288, 296 (2001); Tower v. Glover, 467
U.S. 914, 919 (1984), Dennis ¥. Sparks, 449 U.S. 24, 27 (1980); cf, United States v.
Price, 383 U.S. 787, 794 (1966) (.. finding liability under the criminal law
analogue of section 1983, 18 U.S.C. § 242, private individuals acting jointly with
state officers engage in conduct “under color” of state law). All private (Ds’)
ABLE TOWING LLC, SERVICE TOWING INC.,=STI, owners Dennis Hertz,
Bruce hertz, Sandra hertz & employeesRandy Sullivan via agency law “act
jointly” and /or “conspire with state government officials” i.e. (D) City of Warren
Property & Maintenance Supervisor Scott et al., Brentwood Acad. V Tenn.
Secondary Sch. Ath. Ass’n, supra with City of Warren MI Property & Maintenance
division, (d) Robert Scott, Does, (Ds”) all acting im their ‘individual capacities” at

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all times per facts of this complaint and conspired with private towing compeny |
STI, AT LLC and Hertz Bros., Sullivan, employees. See “other acts” of city of
Warren, Ex 29 6/24/23 “Warren police officer caught on video punching jail inmate
pg, 1-5. Ex 24 Warren Police Report dated 7/16/21, “other act” (Ds’) STI, Hertz.
Bros., working w “state actor (D) Scott in re “citizen’s arrest” @ (Ds’) STI tow
have used to establish § 1983 liability is a ratification theory. Under a ratification
theory, the plsintiff argues, that because the mumicipality subsequently approved of
conduct by its officials that deprived the plaintiff of his constitutional rights, the
municipality should be lisble under §1983. In City of St. Louis v. PrapromikA a
plurality in the United States Supreme Court accepted this theory: when a final.
policy maker‘“approve|d] a subordinate's decision and the basis for it, their See.
City of St. Louis v. Praprotnik, 485 U.S. 112, 127 (1988) (Ps’) aver that (D) STI
admission of “tow contract” with (D) city of Warren, “approved of the conduct by
its officials that deprived the plaintifi(s) of (their) constitutional rights,. ..the
municipality'should be liable under Sec 1983” Id” . Per lawsuit “accepted as tree”, (Ps”)
awe proceeding ngniast the (D) city of Warren under Aéowell v. Department of Social Services of
the City of New York, infra which cecated... for civil rights P to scck moncy damages agaist 8
city. Pembaur v City of Cincinnati, infra “Monell. seouvery.. municipality is limited to acts..
‘suunicipality’-¢hat is, acts which the municipality hes officially sanctioned or ordered.’.....”. “1
Ps’ allege (D Wesren) hes an waconstitutionnl policy. These policies may written or unwritten, 20

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color of state law; 2. acts of (De’) final policymaker deprived Ps’ of rights under United States

acta. When Ds? final policymaker cagaged in these acts, was acting 2s a finel policymaker for

that caused _ubtimate injury. Person acts “under color of state law” when person acts or parports
to act in perfoamance of official duties under any stete, county, or municipal law, ordinance or :
regulation. Alonelil liability is based on the acts of a final policymeker. For other bases

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of Monell lisbility, Unlawful Official Policy, Practice, or Custom... Based on a Policy that Fails
to Prevent Violations of Law or a Policy of Failure to Train Monell v. Dep? of Soc. Servs. of
N.Y, 436 USS. 658, 691. Such liability attach when official or employee who caused a
constitutional violation was acting 2s “fine! policymaker.” Lytle v Carl, 382 F3d 978, 981. “To
hold a local governing body liable for an official’s conduct, a plaintiff must first show .. official
(1) had final policymaking authority conceming... action ..and (2) wes the policymaker for the
local governing body for purposes of particular act.” Whether an official is a policymaker
for Monell purposes is a question of state law for the court” City of St Louts v Praprotnik, 485
US 112, 123 .. determination is made on a function-by-fanction approach analyzed under state
oegenizational strectare. A “policy” is a deliberate choice to follow a course of action made
from among vasious altematives by ..official responsible for establishing final policy” Ps’
seeking to esteblish municipal lisbility under this theory. demonstrate that an action of final
policymaker “was the ‘moving force’ behind the constitutional violation Ps’ suffered.” “To mect
this requirement, P.. show both causation-in-fact & proxisaste causation.” Id A municipslity
may be lisble fur the acts of a final policymaker if these acts caused a constitutional violation,
even if the constitutional violation occurs only once. Pessbaur v City of Cincinnati, 475 US 469,
478 municipality is also liable if a policymaking official fully...”

1) Per Bx 38-39 Affidavits of (Ps’) “At 7568 Hudson Ave Warren MI 48090

since approximately 2019 there was a gate across the driveway where each

half swung open.
2) The tenant BRANSON did not have a car s0 there was no need for
BRANSON to open or close the gate because there was a 2 gate to walk

through.
3) Bransen was instructed to keep the gate(s) closed.

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4) The gatds are shown in exhibit 32 pg. 2, annexed hereto, same as ECF 40 Ex
32 pg. 2, Ex 36 pictures. The Ex 36 pictures were taken 7/11/24 after

6) Per Ex 36 photos the yard was completely fenced in.

7) There was a “no trespassing sign” posted on the privacy fence that became
faded after time similar to Ex 38 picture.

8) 2008 Honda bumper is torn underneath and needs to be replaced per
witnessed proffered for trial and it is the opinion of witness that towing of
2008 Honda from the rear torn the bumper underneath in 2 places per

9) Per (D) STI, Hertz Bros (Ds’) the tickets annexed to ECF _, unlabeled and
annexed hereto as Ex 37 pg. 1-5 were all issued the same day 7/7/21 the day
the 2 cars were towed or Ex 37 pg. 3=7/8/21 the day after so a3 to not be
relevasit except to show that (Ds’) retumed to property to write the same
tickets. again. Per para 10, infra, (PN) Honda was parked on the cement
behind the house & was “operable”. .

10) (PN) was in Ascencion hospitel having travelled there by ambulance
the day before 7/6/21

The normal procedure per Warren code is write a ticket if car is parked on the grass end allow
violator to appar in an administrative hearing NOT tow the car on grass the same day “without
wotion and on opportunity to be heand”, Mullane v. Central Hanover Bank & Trust Co., 339 GS.
306 (1958) “Notice must be reasonably calculated under the circumstances to infprm
interested patties of a pending action and give them an opportunity to respond.”

11) Per covid Michigan & Warren had “stayed” all evictions, including
3/10/20 eviction of tenant BRANSON, per “occupying an uncertified
structuge ticket”. 7568 Hudson Ave was owned by St Anthony the Great.
Romasian Orthodox Monastery ECF 40, Ex 33-34, deed for both parcels,
not (Ps’)”, who leased apartments at 7568 Hudson Ave address ECF 40 Bx
2-3

(PT) ACLAIM THAT (D) SCOTT VIOLATED (PT) 4%, 5, 14 US
| RIGHTS WHEN HE DID A CITIZENS

(PT) AND WORKED WITH PRIVATE (Ds’) STI, HERTZ .

SANDRA HERTZ, RANDY SULLIVAN TO “STALL” (PT) AND

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(D) SCOTT WHEN (PT) CAME TO RETRIEVE CARS PER EALIER
AGREEMENT

Judge in action dismissed the state law claims. This leaves 4, 5, 14"
Amendment US Constitution claims per the fact which must be accepted as
true. See ECF 55

27. “On 7/8/21 (PT) went to (D) STI 6006 Rinke Ave Warren MI to retriéve
Silvérado at about 8.30 AM.
28.(D) Hertz Brother &/or employee (D) Sullivan stalled (PT) per earlier
agrerment with (D) Scott-for approximately 30 minutes pretending like
(D) ¢ould not find (PT) Silverado.”

| OBJECTION No. 1 MAGISTRATE ERRED BY STATING PLAINTIFF
THROWER=(PT) DID NOT STATE A 4™ AMENDMENT CLAIM AGAINST
ROBERT SCOTT-Warren Propesty & Maintenance supervisor when he did a

citizens arrest at service towing inc=STI tow yard 7/8/21 working in agreement
with (D) STI Towing, Hertz Bros., Sandra Hestz, Sullivan employee. Per

complaint ECF 29 pg 12, P “67. On 7/8/21 (P) Thrower went to tow yard to

- retrieve Silvesado @ 9:15 AM.

68. (D) Hertz brother or (D) Sullivan stalled (P) Thrower and (D) Hertz brothes{s)
& or Sullivaa, Sandra Hertz, called (D) Scott, Property and Maintenance
Supervisor per earlier agreement who rushed over to (STT).

69. 9.40 AM (D) Scott #32 (deceased-estate substituted) arrived at (D)
STI...6006 Rinke Ave Warren MI and threw (PT) against .. (restrained Thrower
physically in center right of (D) STI garage where (D) Doe Hertz Brother or
(D) Sullivan told (P) Thrower to wait) physically restraining (P) Thrower inside
STI garage (D) Scott yelling @ (P) Thrower ‘there was a warrant out for
housing violations (allegedly) issued 7/7/21°”. See ECF 40, INDEX OF
EXHIBITS 26 pg 1-2 AFFIDAVIT OF ALBERT THROWER, Ex 25 pg 1-3

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new Affidavits of (Ps’) (two affidavits), Ex 38-39 annexed hereto.

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70. “(P) Thrower yelled at (D) Scott ‘what are you doing’? (D) Scott replied ‘doing
a citizens arrest’. (P) told (D) SCOTT that under Michigan law (p 13) he could
(NOT) sic perform a citizen’s arrest. (P) Thrower proceeded to call 911 to report
crime of Kidnapping in process under MI law. (D) Scott knocked (P) Thrower 313
line out of his hand and knocked (P) Thrower glasses off, breaking them
committing felony ‘assault and battery’. (P) Thrower told (D) Scott #32 “you are
assaulting me and doing battery on me’, (D) Scott (deceased-estate substituted-if
needed per AMENDED filing) roughing (P) Thrower up and holding his hands
behind his ba¢k.” (D) Scott is an x-Warren police officer of 28 years, (obit) and
apparently still thinks he was a police officer.

71. “While restraining (P) Thrower (D) Scott #32 searched (P) Thrower Aldi’s bag
States Constifution 4, 5, 14* Amendment including illegal scizure by physically
restraining (P) Thrower.”

72. “Under Michigan law (D) Scott did not have authority to do a citizen’s arrest
for misdemeanor warrant. (P) Thrower told (D) Scott he did not have legal
authority to restrain (P) Thrower, to which (D) Scott #32 responded, ‘I am doing a
citizen’s arrest’. Which (P) Thrower informed (D) Scott ‘he did not have authority
to perform a‘citizen’s arrest under MI law per facts.””

73. “(P) Thiower phone was knocked out of his hand, and he was forcibly
detained and injured ... by (D) Scott.”

74. “Covid wes still an issue during this alleged citizen’s arrest 7/8/21 and (D)
Scott was yelling @ (P) Thrower and spit was going on (P) Thrower from (D)
Scott.”

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75. After about 10-15 minutes of (P) Thrower being physically restrained by (D)
Scott Warren police arrived (witnessing (D) Scott physically restraining (P)
Thrower).

76. Warren pdlice witnessed the felony in process of kidnapping (P) .. Thrower and
did not arrest (D) Scott but rather arrested (P) Thrower for alleged misdemeanor
housing violagions.”

Magistrate erred because it appears that since Warren police ultimately arrested
(P) Thrower that (D) Scott did not perform a “citizen’s arrest” as he claimed he did
to (P) Thrower.

(D) Scott kaving ample to time to respond under oath does not deny this assault
and citizen’s arrest took place, nor have Warren police officer’s arrived who
witnessed sate, or (D) Hertz Bros (Ds’) or employee Sullivan.

77) “Under Michigan Code of Criminal Procedures Act 175 of 1927, 764.16 Arsest
by Private Persons... Section 16, For a felony committed in the private person’s
presence

e ... committed felony not in private person’s presence, If the private person is
summoned by a peace officer to assist the officer...(d)” ECH 46 pg 3, P 2,
magistrate correctly states fact: “July 8, 2021, Thrower went to the tow yard to
retrieve the vehicles... (D) Hertz (or (D)=Doe employee Sullivan-who was |
mistakeni as one of the (Ds’) Hertz Brothers stalled Thrower while (D) Scott
was on his way to the tow yard (after being called by (D) Hertz Bros per
agreement). When (D) Scott arrived, he threw (P) Thrower against the wall and
conductdd'a citizen’s arrest for unsafe structure-for-habitation ticket(issued the
day before 7/7/21 & not served on (P) ) (Id. At PagelD,94-95) (as noted in (Ps’)

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brief tenant Branson had her eviction stayed because of covid, and then
evictions were tolled because of covid-later (D) Scott testified at 8/21 eviction
hearing that Branson should be allowed to stay at Hudson property for free
while (D) Scott helped her find a place & “it was a nice apartment” Tsp of
hearing-to 37® District Court’s Judge Chuma’s dismay). While restraining ((P)
Thrower), (D) Scott searched through Thrower’s bag (and assault and battery’
(P) Thrower per ECF 29 pg 12-13 complaint “which must be accepted as true”
quoted supra. Thrower alleges that Scott lacked authority to conduct a citizen’s
arrest for al misdemeanor charge. Warren police then arrived but did not arrest
Scott for kidnapping; instead, they arrested (P) Thrower on the misdemeanor
housing violation.” Magistrate was correct by holding (Ps’) complaint to a
lesser pro’se standard per Haines v Kerner, 404 US 519, 520. @ pg 5 P 2.

Magistrate exred in applying law in re citizen’s arrest. Pg 22 ECF 46 PagelD
547, as to probable cause for (D) Scott to do a citizen’s arrest-restrain (P)
Thrower, “assault & battery on (P) Thrower per ECF 25 Amended complaint
quoted supira. (D) Scott is not a police officer, magistrate using “The officer
subjective reason for making the arrest ...” Devenpeck v Alford, 543 US 146,
153. As stated in ECF Amended complaint 29 (D) Scott is a supervisor Warren
Property and Maintenance. (Ps’) can find no law, that an employee of Warren
property and maintenance can do a “citizen’s arrest” as (D) Scott claimed he
did, Scott was attacking, restraining, knocking (PT) glasses off, knocking his
Warren police arrived “10-15 minutes later”, he being a public official, city of
Warren employee under Michigan law was not allowed to do same. Using a
police case a3 to whether a police had probable cause to arrest ... Devenpeck
Id., is not on point. “Held: 1. A warrantless arrest by a law officer is

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reasonable under the Fourth Amendment if, given the facts known to the officer,
there is probable cause to believe that a crime has been or is being
committed...officers to cease providing reasons for arrest, or to cite every class
of offense for which probeble cause could conceivably exist. Pp. 5-9.”, “Officer
.. State Patrol, supervisor, Sergeant Devenpeck,” Devenpeck v Alford, Id.
Complaint'ECF 29, (D) Scott=(D) city of Warren Property & Maintenance”, not
“g police officer”, 90 Devenpeck v Alford, Id., is not relevant. (D) city of
Warren failed to train (D) Scott and “train” him that he is “(not) a law officer”
as he was for 28 yrs (Scott obit). The city of Warren is liable for it’s failure to
train policy” and ample case and newspaper articles set forth in Ps’ ECF 40
RESPONSE TO DEFENDANTS MOTION TO DISMISS .. same as if
rewritten herein including exhibits 1-35. Magistrate states @ pg 22 para 2 “As
Scott noted, PT did not allege that .. citizens arrest ... was affected without
probable cause...” . Scott, per ECF 29 pg 6 P”15) (D) Scott=supervisor of city
of warren property maintenance div..”. For a city employee law states he
cannot make a “citizens arrest”. There is no weighing if he had “probable

cause” as he is not a police officer. 2™, Warren Police officers that arrived 10-

15 minutes later and observed (D) Scott “physically restraining” (PT) had they
been “properly trained” would have observed that there was a felony in the
process of kidnapping, assault & battery & should have arrested (D) Scott
instead of arresting (PT) for outstanding misdemeanor warrant-issued day
before. ECF 40, index of exhibits, Ex 26 pg 1-2 AFFIDAVIT (PT) See 3"
Amended complaint ECF which must be accepted as true: ECF 55.

1) ~ On'7/8/21 (PT) went to (D) STI 6006 Rinke Ave Warren MI to retrieve
Silverado at about 8.30 AM.

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2) (D) Hertz Brother &/or employee (D) Sullivan stalled (PT) per earlier |
agreement with (D) Scott-for approximately 30 minutes pretending like (D)
could set find (PT) Silverado.

3) (PT) was told to wait in STI garage and (D) Scott arrived and attacked
(PT) in (D) STI garage and physically restraining (PT) while (Ds’) Hertz
Bros &/or Sullivan watched

4) (PT) yelled “what are you doing”? (D) SCOTT said “I am doing a citizens
arrest, there is warrant out for you. for housing violations.”

5) (PT) told (D) Scott that under MI law he could not perform a citizens
arrest for alleged misdemeanor housing violations.

6) (PT) called 911 to report kidnapping in process and assault and battery,
with (ID) SCOTT knocking phone out of (PT) Thrower’s hand injuring same
after 911 operator answered-(PT) amended witness list to obtain this 911.
recording. .. (D) Scott searched (PT) Aldi’s bag.

7) 7/21/21: (PT) filed police report on (D) Scott “assault and battery”,
“kidnapping” Incident #21-33784...” CLAIM NUMBER TWO
Per facts same rewritten herein (D) Scott violated (PT) US Constitutional
rights to be free from unconstitutional seizure in violation 4, 5, 14* Amendaient
when (D) Scott performed “citizen’s arrest” when as a matter of law (D) Scott
was not legally allowed to. (D) Scott acted in agreement, tandem, conspiracy,
actions “fuextricably intertwined”, with (D) Hertz Brothers, (D) Sandra Hertz,
(D) Randy Sullivan to detain, stall (PT) at (D) STI, call (D) Scott who rushed
over to do “citizen’s arrest”, search (PT) at (D) STI garage while (D) Hertz
Brothex(s) &/or (D) Sullivan watched per agreement.”, “legality of citizen’s
arrest chaages, .. arresting individual becomes subject to same
4th Aménidment restrictions on search and seizure as law enforcement officers.
.-. inhesent danger .. arresting citizen may face, that this is a rare occurrence.

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WHEREFORE magistrates erred in granting MOTION TO DISMISS and the case
should proceed to discovery and trial and/or Magistrate had no jurisdiction to en to ong

ECF 82 after Notice of Appeal was filed ECF 80 (7!) ob ject L /
A/a pe lou Let Ss Bay? cot for jeeas ows SLTAtL

Supe, ly sybmitted,
Aer 6 mo
Albert Thrower pro’se Elizabeth Nelsen pro se

CERTIFICATE OF SERVICE

A copy of this OBJECTION TO MAGISTRATE’S REPORT has been
served on the below defendants after calling same to see if they agree with
(Ps’) position this 10/15/2024

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